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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

_____________________________________
                                       )
HARTFORD UNDERWRITERS                  )         Case No.: 2:18-cv-12907
INSURANCE COMPANY, TWIN CITY           )
FIRE INSURANCE COMPANY,                )         Judge Nancy G. Edmunds
HARTFORD FIRE INSURANCE                )         Magistrate Stephanie Dawkins Davis
COMPANY, PROPERTY AND                  )
CASUALTY INSURANCE COMPANY OF )
HARTFORD, TRUMBULL INSURANCE )
COMPANY and HARTFORD CASUALTY )
INSURANCE COMPANY,                     )
                           Plaintiffs, )
                                       )
v.                                     )
                                       )
OMEGA RESOURCE SOLUTIONS, LLC, )
                                       )
                         Defendants. )
___________________________________ )


             ORDER GRANTING PLAINTIFFS’ MOTION FOR
                      DEFAULT JUDGMENT

      This matter having come before the Court on Plaintiffs’ Motion for Default

Judgment, a hearing having been held, and the Court being otherwise fully apprised

in the premises hereof; NOW THEREFORE:

      IT IS HEREBY ORDERED that Plaintiffs’ Motion for Default Judgment is

GRANTED;
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      IT IS HEREBY FURTHER ORDERED that the Clerk is directed to strike

Defendant’s answer; and

      IT IS HEREBY FURTHER ORDERED that a default judgment shall be

entered by the Clerk in Plaintiffs’ favor and against Defendant Omega Resource

Solutions, LLC.

      IT IS SO ORDERED.

      This Order resolves all remaining claims and the case is to be closed.



Date: May 20, 2019                    s/ Nancy G. Edmunds
                                      Honorable Nancy G. Edmunds
                                      United States District Court Judge
